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            IN THE UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT


LEARNING RESOURCES, INC., and
HAND2MIND, INC.,
                  Plaintiffs-Appellees,
                                                            No. 25-5202
      v.
DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,
                  Defendants-Appellants.


              MOTION TO GOVERN AND RESPONSE TO
                PLAINTIFFS’ MOTION TO GOVERN

      Pursuant to this Court’s June 11 order directing the parties to “file mo-

tions to govern future proceedings within 14 days of the United States Court

of Appeals for the Federal Circuit’s resolution of stay proceedings in V.O.S.

Selections, Inc. v. Trump, No. 25-1812, et al.,” the government respectfully

submits this motion to govern and response to plaintiffs’ motion to govern.

In the government’s view, this appeal warrants expedition on the schedule

agreed to by the parties in plaintiffs’ initial motion for expedition, or on a

similar expedited schedule set by the Court.

      1.    Plaintiffs challenged tariffs imposed by the President under the

International Emergency Economic Powers Act (IEEPA). The government
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moved to transfer the case to the Court of International Trade, which has

held that it has exclusive jurisdiction over such suits. See 28 U.S.C. § 1581(i);

V.O.S. Selections, Inc. v. United States, 2025 WL 1514124, at *7-8 (Ct. Int’l Trade

May 28, 2025). Plaintiffs opposed transfer and moved for a preliminary in-

junction.

      In V.O.S. Selections and a related case, the Court of International Trade

enjoined the enforcement of the tariffs challenged here. The government

sought a stay pending appeal in the Federal Circuit. Shortly after that filing,

the district court here held that it, not the Court of International Trade, had

jurisdiction over plaintiffs’ suit, and entered a preliminary injunction. Dkt.

No. 37. The government appealed and sought a stay pending appeal from

this Court. Before this Court ruled on a stay pending appeal, the district

court granted such a stay, Dkt. No. 42, and the government withdrew its stay

motion before this Court.

      Plaintiffs then filed an unopposed motion to expedite the appeal. Mot.

to Expedite (June 5, 2025). That motion included a schedule the parties had

agreed upon under which the government’s opening brief would be due

June 27; plaintiffs’ response brief would be due July 23; and the govern-

ment’s reply would be due August 8. Id. at 4.

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      Plaintiffs subsequently asked this Court to delay ruling on their mo-

tion for expedition while the Federal Circuit resolved the government’s stay

motion in V.O.S. Selections—which, as noted above, had been filed before

plaintiffs moved to expedite this appeal. Mot. to Defer Ruling (June 9, 2025).

On June 11, this Court directed the parties to file motions to govern future

proceedings after “the Federal Circuit’s resolution of stay proceedings in

V.O.S. Selections.” Order (June 11, 2025).

      On June 10, the en banc Federal Circuit granted a stay pending appeal

in V.O.S. Selections and set oral argument on July 31. Order, V.O.S. Selections,

No. 25-1812 (Fed. Cir. June 10, 2025). The Federal Circuit instructed the par-

ties to propose an expedited briefing schedule in advance of that argument

date. The parties proposed—and the Federal Circuit has now adopted—a

briefing schedule under which the government’s opening brief is due June

24; plaintiffs’ response briefs are due July 8; and the government’s reply is

due July 18. Order, V.O.S. Selections, No. 25-1812 (Fed. Cir. June 13, 2025).

      2.    Plaintiffs here have urged the Court to adopt the same briefing

schedule as the Federal Circuit in V.O.S. Selections, and further request oral

argument “no later than August 1, 2025.” Mot. to Govern at 2.




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      The government agrees—as it has from the start—that expedition of

this appeal is warranted. The parties already proposed an agreed-upon

schedule in plaintiffs’ initial motion to expedite that balanced the parties’

need for expedited resolution (including any harms to the parties from de-

lay) and resource constraints.1 The government continues to believe that

that schedule, or a similar schedule adopted by the Court, would be appro-

priate for expeditious resolution of this appeal.

      Plaintiffs urge that the previously agreed-upon schedule should be

abandoned, and this case pegged to the Federal Circuit proceedings, because

“the Supreme Court would risk not having a proper vehicle to resolve the

merits of the exceptionally important and urgent issues presented” if the

cases were not decided on the same timeline. Mot. to Govern at 4. Even

assuming Supreme Court review is likely, there is little basis to believe that

the relatively modest differences between the previously agreed-upon brief-

ing schedule here and the schedule adopted by the Federal Circuit will ma-

terially alter how quickly each case is resolved. And in any event, other tools




      1      In particular, as plaintiffs are aware, multiple government coun‐
sel are out of the office for all or part of the week of July 21.

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remain available if the Supreme Court concludes that it needs two cases be-

fore it because one faces a jurisdictional issue, including a writ of certiorari

before judgment.

      3.    The government therefore respectfully urges that the Court

adopt the previously agreed-upon briefing schedule reflected in plaintiffs’

original motion to expedite, or a similar schedule set by the Court.

                                            Respectfully submitted,

                                            MICHAEL S. RAAB
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                                            /s/ Daniel Winik
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                     CERTIFICATE OF COMPLIANCE

     This motion complies with Federal Rule of Appellate Procedure

27(d)(1)(E) because it has been prepared in 14-point Book Antiqua, a propor-

tionally spaced font. It complies with the type-volume limitation of Federal

Rule of Appellate Procedure 27(d)(2)(A) because it contains 792 words, ac-

cording to Microsoft Word.


                                          /s/ Daniel Winik
                                          Daniel Winik
